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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA



 OSCAR GUILLEN,                            )
                                           )
                      Petitioner,          )
 v.                                        )         No. 1:05-cv-1080-RLY-TAB
                                           )
 CRAIG HANKS, Superintendent,              )
                                           )
                      Respondent.          )




                           Entry Concerning Selected Matters

                                               I.

        A copy of the petitioner’s motion to alter or amend judgment shall be included with
 the distribution of this Entry.

                                               II.

       This action for a writ of habeas corpus was dismissed through the issuance of a
 Judgment entered on the clerk’s docket on October 12, 2005. The petitioner has filed a
 motion to alter or amend judgment.

        The post-judgment motion was signed by the petitioner within ten (10) business days
 following the entry of judgment on the clerk’s docket. Accordingly, the motion is treated as
 a motion to alter or amend judgment pursuant to Rule 59(e) of the Federal Rules of Civil
 Procedure. This is because all motions that substantively challenge the judgment, filed
 within 10 business days of the entry of judgment will be treated as based on Rule 59, "no
 matter what nomenclature the movant employs." Lac du Flambeau Band of Lake Superior
 Chippewa Indians v. Wisconsin, 957 F.2d 515, 517 (7th Cir. 1992).

         Rule 59(e) "authorizes relief when a moving party 'clearly establish[es] either a
 manifest error of law or fact' or 'present[s] newly discovered evidence.'" Souter v.
 International Union, 993 F.2d 595, 599 (7th Cir. 1993) (quoting Federal Deposit Ins. Corp.
 v. Meyer, 781 F.2d 1260, 1268 (7th Cir. 1986)). The purpose of a motion to alter or amend
 judgment under Rule 59(e) is to have the court reconsider matters "properly encompassed
 in a decision on the merits." Osterneck v. Ernst and Whinney, 489 U.S. 169, 174 (1988).
 The Court of Appeals has explained that there are only three valid grounds for a Rule 59(e)
 motion--newly-discovered evidence, an intervening change in the law, and manifest error
 in law. See Cosgrove v. Bartolotta, 150 F.3d 729, 732 (7th Cir. 1998).
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        There was in this case no manifest error of law or fact. See Russell v. Delco Remy
 Div. of General Motors Corp., 51 F.3d 746, 749 (7th Cir. 1995). The court did not
 misapprehend the petitioner’s claims, nor did it misapply the law to those claims in light of
 the underlying record and the applicable law. Accordingly, the post-judgment motion to alter
 or amend judgment is denied.

        IT IS SO ORDERED.




                                                      _______________________________
 Date: 11/08/2005                                      RICHARD L. YOUNG, JUDGE
                                                       United States District Court
                                                       Southern District of Indiana




 Copies to:

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